                           EXHIBIT B




Case 20-04002-MJH   Doc 73-9   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 1 of 11
                                      Henry & DeGraaff, P.S.

     Christina L Henry
     chenn @hdm-legal.co111
             1




     November 22, 2019

     Robert McDonald
     Quality Loan Service Corp. of WA
     108 151 Ave S
     Suite 202
     Seattle, WA 98104
     rmcdonald@qual ityloan.com
     Fax# 206-274-4902

     Lance E. Olsen
     McCarthy Holthus, LLP
     108 151 Ave S
     Seattle, WA 98104
     lolsen@mccaarthyholthus.com

     HSBC Bank USA, N.A., as Trustee
      of the Fieldstone Mortgage Investment Trust, Series 2006-2
     Attn: Noel Quinn, CEO
     425 5th Ave
     New York, NY 10018

     PHH Mortgage Services
     Attn : Rob Crowl, CEO
     I Mortgage Way
     Mount Laurel, NJ 08054

                 Re:    NOTICE RE VIOLATION OF THE BANKRUPTCY AUTOMATIC STAY
                        UNDER 11 USC § 362(a)
                        Bankruptcy Cause No. 19-42890-MJH
                        Bankruptcy Filed 9/9/2019 / Dismissed 9/26/2019
                        Debtor: Sarah Hoover
                        Property Address: 18205 1061h St E, Bonney Lake, Wash., 98391
                        Parcel No. 700174030
                        Loan# xxxxxx.5107
                        Deceased Borrower: Ali Suleiman (deceased on March 2, 2015)
                        Trustee Sale No.: W A-18-835092-SW
                        Title Order No.: TSG1719-WA-330163 611169299


     To Whom It May Concern,

             I represent Sarah Hoover, the successor in interest and heir to the estate of the
      deceased single man, Ali Sulieman. On September 9, 2019, Ms. Hoover filed a Chapter 13
      bankruptcy petition in the United States District Court for the Western District of Washington
      on September 9, 2019 in order to save the home she inherited from her father, Mr. Ali

                                                                                                         HOOVER000848
Case 20-04002-MJH             Doc 73-9
           787 Maynard Ave S, Seattle, WA 98104
                                                     Filed 11/13/20                  Ent. 11/13/20 21:51:27 Pg. 2 of 11
                                                  Phone: 1-206-330-0595 / Fax : 1-206-400-7609 I email : mainline@hdm-legal.com
   Ltr re Automatic Stay Violation
   November 26, 2019

   Suleiman, through a Trust. See Exhibit A. Ms. Hoover listed PHH Mortgage Services
   (" PHH") as a creditor on her bankruptcy creditor matrix. See Exhibit B.

           Immediately after filing, Ms. Hoover notified PHH of her bankruptcy through her
   representatives Dan Howard and David Miller of E lite Legal Network, who were helping her
   with a loan modification. They notified PHH of the filing via phone, fax, and written
   documentation that included documentation of Ms. Hoover' s interest as an heir to the
   property and as the Trustee to the Ali Suleiman Trust. On her behalf, they also sent in a full
   application for a loan modification along with letters indicating her intention to pursue an
   assumption of the loan and a loan modification.

           After discovering that her home had been so ld via nonjudicial foreclosure sale on
   September 13, 2019, Ms. Hoover contacted Robert McDonald at Quality Loan Service Corp.
   shortly after the sale to inquire about how to rescind the foreclosure sale, because it took
   place after her bankruptcy filing. For reasons unknown, instead of conforming to the
   automatic stay that was in place at the time of the void foreclosure sale and remedying the
   violation by rescinding the sale, Quality Loan Servicing recorded the trustee 's deed on
   September 26, 2019. l also understand that Mr. McDonald spoke to Ms. Hoover prior to the
   sale and he knew that she was a successor in interest to her father ' s estate, and he even sent
   her reinstatement figures for the property on September 4, 2019 via email.

          You are hereby on notice to that the nonjudicial foreclosure sale of Ms. Hoover's
   property on September 13, 2019 was in violation of the automatic stay under 11 U.S.C.
   § 362(a) and that you are liable for mandatory damages, including attorneys' fees,
   under 1 USC§ 362(k)(l) for failure to comply with your affirmative duty to conform to
   the automatic stay once you had knowledge of Ms. Hoover's bankruptcy filing.

          Failure to rescind the sale and restore the real property located at 18205 I 06 1h St E,
   Bonney Lake, Wash., 98391 to Ms. Hoover is a continuing violation of the automatic stay,
   and damages may be entered against you by the Bankruptcy Court.

           You are hereby on notice that Ms. Hoover has received notice from the third parties
   who purchased her property at the foreclosure sale that they intend to proceed with eviction
   procedures should she not vacate the property by December 1, 2019. Should this happen,
   Ms. Hoover will have accrued additional damages and emotional distress due to your
   continuing violation of the stay.
          Accordingly, this letter is notice to you that the debtor intends to file an adversary
   proceeding with the bankruptcy court seeking damages for violation of the automatic stay
   against PHH Mortgage Services and Quality Loan Services in the United States Bankruptcy
   Court for the Western District of Washington for her actual damages, including attorneys' fees
   and costs, and punitive damages.

          You should also be advised that you r failure to rescind this void foreclosure sale and
   quickly remedy any a utomatic stay violation wi ll be used as evidence in this case to prove,
   among other things, the following:

    1.     That your violation of the automatic stay is con tinuin g in nature and is further
           aggravated by your fa ilure to acknowledge the bankruptcy stay and to remedy the
           violation in an instance wherein the debtor has incw-red substantial loss of real property
           and damages, including emotional distress:


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                                                                                HOOVER000849
Case 20-04002-MJH        Doc 73-9       Filed 11/13/20      Ent. 11/13/20 21:51:27 Pg. 3 of 11
   Ltr re Automatic Stay Violation
   November 26, 2019
    2.    That you have failed to implement adequate procedures to take into account the filing
          of a bankruptcy petition by the heirs of a deceased person when you are in the process
          of nonjudicial foreclosure on a property; and that upon lawful receipt of a bankruptcy
          filing notice or via communication from Ms. Hoover, you fa iled to take the necessary
          steps to rescind the foreclosure sale and remedy the stay violation;

    3.    That you have failed to take timely, necessary, appropriate and proper actions in this
          case so as to avoid the filing of an adversary proceeding for violation of the automatic
          stay;

    4.    That you have willfully fai led to take timely and necessary actions in an effo1t to
          mitigate the damages Ms. Hoover will incur should yo u not rectify the stay violation:

    5.    That you have needlessly increased the legal fees and expenses that have been and will
          be incurred by Ms. Hoover by filing the trustee ' s deed and not taking any action once
          you knew the sale was completed in violation of the stay;

    6.    That you have waived any right to object to the admission of this letter and to your
          failure to submit a time ly response thereto into evidence at any court hearing in this
          matter;

    7.    That you have admitted that the debtor is entitled to recover an amount of actual
          damages, punitive damages, and legal fees for the damages they have incurred in an
          amount to be discussed with their attorneys:

    8.    That this letter may be introduced into evidence at any hearing in this case under Rule
          803(6) of the Federal Rules of Evidence; and

    9.    That your fai lure to respond on a timely basis as designated herein may be used against
          you as a Statement that this is contrary to your pecuniary or proprietary interest as
          provided for by Rule 804(b )(3) of the Federal Rules of Evidence.

                                                        Sincerely,




                                                        Christina L. Henry, WSBA# 31273
                                                        Attorney for Sarah Hoover



    cc:   Sarah Hoover

           Michael Lappano, Regional Director of Acquisitions, Invitation Homes, 15900 SE
    Eastgate Way, Suite 150, Bellevue, WA 98008




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                                                                              HOOVER000850
Case 20-04002-MJH        Doc 73-9     Filed 11/13/20      Ent. 11/13/20 21:51:27 Pg. 4 of 11
U.S. Bankruptcy Court, Washington Western LIVE Database V5 . l           https://jenie.ao.dcn/wawb-ecf/cgi-bin/NoticeOfFi ling.pl?665210




                                                 United States Bankruptcy Court
                                                 Western District of Washington




        Notice of Bankruptcy Case Filing


        A bankruptcy case concerning the debtor(s) listed
        below was filed under Chapter 13 of the United States
        Bankruptcy Code, entered on 09/09/2019 at 12:46 PM
        and filed on 09/09/2019.

        Sarah Hoover
        18205 106th St E
        Bonney Lake, WA 98391
        SSN I ITIN: xxx-xx-8882



              The bankruptcy trustee is:

             Michael G. Malaier
             2122 Commerce Street
             Tacoma, WA 98402
             253-572-6600

        The case was assigned case number 19-42890-MJH to Judge Mary Jo Heston.

        In most instances, the filing of the bankruptcy case automatically stays certain collection and other
        actions against the debtor and the debtor's property. Under certain circumstances, the stay may be limited
        to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay. If you
        attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized .
        Consult a lawyer to determine your rights in this case.

        If you would like to view the bankruptcy petition and other documents filed by the debtor, they are
        available with a Pacer account log in at https://ecf.wawb.uscourts.gov or via public terminals at the
        Clerk's Office, 1717 Pacific Avenue, Suite 2100, Tacoma, WA 98402 or 700 Stewart St, Room 6301 ,
        Seattle, WA 98101.

        You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
        forth important deadlines.


                                                                                    Mark L. Hatcher
                                                                                    Clerk, U.S. Bankruptcy
                                                                                    Court


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          Case 20-04002-MJH              Doc 73-9       Filed 11/13/20      Ent. 11/13/20 21:51:27 Pg. 5 of 11
   PHH Mortgage·
   1 Mortgage Way
   Mount Laurel, NJ 08054




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   Case 19-42890-MJH   Doc 1-1    Filed 09/09/19                       HOOVER000852
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Case 20-04002-MJH   Doc 73-9     Filed 11/13/20    Ent. 11/13/20 21:51:27   Pg. 6 of 11
 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




On 11/27/2019, I did cause a copy of the following documents, described below,
Ltr re Automatic Stay Violation




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if
fully set forth herein.

Parties who were mailed documents via certified mail, return receipt requested, are those listed as certified on the attacheed mailing
matrix.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com. A copy
of the declaration of service is attached hereto and incorporated as if fully set forth herein.

DATED: 11/27/2019
                                                           /s/ Christina L Henry
                                                           Christina L Henry 31273
                                                           Henry & DeGraaff, PS
                                                           787 Maynard Ave S
                                                           Seattle, WA 98104
                                                           206 330 0595




                                                                                                 HOOVER000853
             Case 20-04002-MJH            Doc 73-9      Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 7 of 11
 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




On 11/27/2019, I did cause a copy of the following documents, described below,
Ltr re Automatic Stay Violation




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if
fully set forth herein.

Parties who were mailed documents via certified mail, return receipt requested, are those listed as certified on the attacheed mailing
matrix.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com. A copy
of the declaration of service is attached hereto and incorporated as if fully set forth herein.

DATED: 11/27/2019
                                                           /s/ Christina L Henry
                                                           Christina L Henry 31273
                                                           Henry & DeGraaff, PS
                                                           787 Maynard Ave S
                                                           Seattle, WA 98104
                                                           206 330 0595




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             Case 20-04002-MJH            Doc 73-9      Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 8 of 11
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

FIRST CLASS                              FIRST CLASS                              CERTIFIED
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ROBERT MCDONALD                          LANCE E. OLSEN
QUALITY LOAN SERVICE CORP OF WA          MCCARTHY HOLTHUS, LLP                    HSBC BANK USA, N.A., AS TRUSTEE OF THE
108 1ST AVE S, STE 202                   108 1ST AVE, STE 300                     FIELDSTONE MORTGAGE INVESTMENT TRUST,
SEATTLE WA 98104                         SEATTLE WA 98104-2104                    SERIES 2006-2
                                                                                  ATTN:NOEL QUINN, CEO
                                                                                  425 5TH AVE
                                                                                  NEW YORK NY 10018

CERTIFIED                                DEBTOR                                   FIRST CLASS
7019 1640 0001 5478 1486                 SARAH HOOVER                             MICHAEL LAPPANO, REGIONAL DIRECTOR OF
PHH MORTGAGE SERVICES                    18205 106TH ST E                         ACQUISITIONS
ATTN: ROBB CROWL, CEO                    BONNEY LAKE WA 98391                     INVITATION HOMES
1 MORTGAGE WAY                                                                    15900 SE EASTGATE, STE 150
MOUNT LAUREN NJ 08054                                                             BELLEVUE WA 98008




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          Case 20-04002-MJH         Doc 73-9     Filed 11/13/20     Ent. 11/13/20 21:51:27 Pg. 9 of 11
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         Christina L Henry                                                                                                                           )
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